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UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HONORABLE THOMAS J. AQUILINO, JR., SENIOR JUDGE
One Step Up,
Court No. 04-00397

Plaintiff,

United States, i Port: See Attached Schedules A

Defendant.

STIPULATED JUDGMENT ON AGREED STATEMENT OF FACTS

This action, as prescribed by Rule 58.1 of the Rules of the United States Court of
International Trade, is stipulated for judgment on the following agreed statement of facts
in which the parties agree:

l. The protests were filed and the action commenced within the time
provided by law, and all liquidated duties, charges or exactions were paid
prior to the filing of the summons.

2. The imported merchandise identified on the entries set forth on the
attached Schedules “A” consists of ladies’ shelf bra camisoles knitted of
either predominantly man-made fibers or predominantly of cotton, that

have been permanently combined at the shoulder strap with a brassiere.
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3. In liquidation, U.S. Customs and Border Protection classified the imported
merchandise identified on Schedules A under one of the following
provisions:

a. As “T-shirts, singlets, tank tops and similar garments knitted or
crocheted: Of cotton” under subheading 6109.10.00, Harmonized
Tariff Schedule of the United States (“HTSUS”), at the duty rate of
17.0 or 17.4 percent ad valorem,

b. As “Women’s or girls’ blouses and shirts, knitted or crocheted: Of
cotton” under subheading 6106.10.00, HTSUS, at the duty rate of 19.8
percent ad valorem, or

c. As “Sweaters, pullovers, sweatshirts, waistcoats (vests) and similar
articles, knitted or crocheted: Of cotton: Other” under subheading
6110.20.20, HTSUS, at the duty rate of 16.9 or 17.3 percent ad
valorem.

4. The stipulable imported merchandise identified in Schedules A is
classifiable as “Other garments, knitted or crocheted: Of cotton” under
subheading 6114.20.00, HTSUS, at the duty rate of 10.9 percent ad
valorem.

5. The imported merchandise identified on Schedules A is stipulable in
accordance with this agreement.

6. Any refunds payable by reason of this judgment are to be paid with
interest provided by law.

7. All other claims and non-stipulable entries are abandoned.
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8. Each party will bear its own costs and attorney’s fees.

Respectfully submitted,

By: _/s/ Robert F. Seely JOSEPH H. HUNT
Robert F. Seely Assistant Attorney General
GRUNFELD, DESIDERIO,
LEBOWITZ, SILVERMAN & JEANNE E. DAVIDSON
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New York, New York 10022 JUSTIN R. MILLER
Tel.: (212) 557-4000 Attorney-in-Charge
Attorneys for Plaintiff By: Beverly, A. $ of [Tren

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Trial Attorney

International Trade Field Office
Civil Division Dept. of Justice,
Commercial Litigation Branch
International Trade Field Office
26 Federal Plaza, Room 346
New York, New York 10278
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Attorneys for Defendant
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SCHEDULE A(1) TO STIPULATED JUDGMENT CIT No. 04-00397

Port: Los Angeles (2704)
Summons Filed CIT NO. 04-00397: 8/06/2004

* Entries and entry lines marked with an asterisk are abandoned and not subject to stipulation of
judgment.

No Entry No. line, No, Description assessed claimed
Toes 175-3004280-7*
opeae 175-3004374-8*
o peae 175-3004376-3*
vyese 175-3004377-1*
100837 175-3004375-5*
“100853 175-3004186-6*
2704-03- | 475, 3004450-6"
oon 175-3004187-4*
2708-03. | 175 2005154.3"
ft
“103288 175-3005045-3* | -
03394 175-3005344-0*
“00075 175-3005345-7* |
2708-08 | 75, s005660-9
“100077 175-3005925-6* - /
2704-04- ' XX-XXXXXXX-9"
y eooes 175-3005153-5*
“00421 175-3007353-9*
M0042? 175-3007354-7*

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Pron | evn [| |u| a |
“100423, 175-3007567-4*
Toad 175-3007819-9* |

“100425, 175-3007821-5*

ooane 175-3007824-9*

“Noa? 175-3006851-3*

ooaoe 175-3007160-8*
ocr 175-3007359-6*

00737 175-3007983-3*

ooway 175-3007988-2* .
eons 175-3008178-9*

oNo39. 175-3007987-4*

Toora. 175-3008401-5*

7708-08-75 5008876.8"

0786. 175-3008400-7*

“100979 175-3009463-4*

o sose0 175-3009457-6*
oeooee. 175-3009080-6*

“yo0988 175-3009459-2*

Toate 175-3009953-4*

Tonaos 175-3011049-7*

101830 175-3007571-6*

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Port: NY/Newark (4601)

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SCHEDULE A(2) TO STIPULATED JUDGMENT CIT No. 04-00397

Summons Filed: CIT NO. 04-00397: 8/06/2004

* Entries and entry lines marked with an asterisk are abandoned and not subject to stipulation of

judgment.
Protest Entry Style . HTSUS HTSUS
No. Entry No. | tine No. Description Assessed Claimed
4601-03- 109-
103228 | 0531374-7*
LADIES 95% COTTON,
voaose os313y754 001 | 39416BA | 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
voo30 os31ay54 001 | 39416BB | 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
ry030 95313954 001 | 39416BC | 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
53030 95312954 001 | 39416BD | 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
voas30 9831375 4 | 002 | 39516BA | 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
" TANK TOP
LADIES 95% COTTON,
i yis30 os31ay5-4 002 | 39516BB | 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
eo30 os31a95 4 | 002 | 39516BC | 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
ie os36 9531395 4 | 002 | 39516BD | 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
" TANK TOP
4601-03- 109-
103232 | 0531373-9*
4601-03- 109-
103386 | 0533139-2*
4601-03- 109-
103577 | 0534306-6*

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One Step Up v. United States, Court No. 04-00397
Protest Entry | Style oa HTSUS HTSUS
No. Entry No. Line No. Description Assessed Claimed
4601-04- 113-
100216 | 2253077-2*
LADIES 55% COTTON,
4601-04- 113- 37% POLYESTER, 8%
100259 2254996-2 | 24 31178 SPANDEX KNITTED 6103.10.00 | 6114.20.00
TANK TOP
LADIES 55% COTTON,
4601-04- 113- 37% POLYESTER, 8%
ieee 9254996-2 | 002 | 31278x Peete 6109.10.00 | 6114.20.00
TANK TOP
LADIES 55% COTTON,
4601-04- 113- 35% POLYESTER, 10%
ae 3289058.7 | 002 33271 Eanes 6109.10.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
ooseo. s839n8-7 003 32476 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
4601-04- 109-
100307 | 0541573-2* |
4601-04- 109-
100308 | 0541574-0* - _|
4601-04- 109-
100312 | 0541572-4*
4601-04- 113-
100313 | 2282060-3*
0
4601-04. a LADIES 95% COTTON,
nn eee 001 38916 5% SPANDEX KNITTED | 6106.10.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
cova w8305 4.3 | 093 36285 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
eooaia 8305 4.3 | 004 36385 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
sens weagy 4.3 | 004 49645 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
4601-04- 109-
100319 | 0542406-4*

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Protest Entry Style oe HTSUS HTSUS
No. Entry No: Line No. Description Assessed Claimed
LADIES 95% COTTON
4601-04- 113-
100320 | 2281062-9 | 002 | 30373 | 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
LADIES 55% COTTON,
4601-04- 113- 37% POLYESTER, 8%
100320 | 2281062-0 | °° | 3277 SPANDEX KNITTED | ©210-20.20 | 6114.20.00
TANK TOP
LADIES 97% COTTON
4601-04- 113-
0300 9981002.0 001 | 45486 | 3% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
LADIES 97% COTTON,
n0020 9281000.0 001 | 49885 | 3% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
LADIES 55% COTTON,
4601-04- 113- 37% POLYESTER, 8%
100320 | 2281062-0 | %% | 30772 SPANDEX KNITTED | ©409-40.00 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
esate oe5008.6 002 | 38930 | 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
aot 083008.6 002 | 39030X | 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
4601.04. 113. LADIES 95% COTTON,
100322 | 2289055-3 | 002 | 30573 | 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
4601-04- 109-
100654 | 0542404-9*
4601-04- 113-
100655_| 2302370-2*
LADIES 95% COTTON,
soese asaanoy.a 002 | 5340RL1 | 5% SPANDEX KNITTED | 6109.10.00 | 6114.20.00
TANK TOP
4601-04- 109-
100656 | 0544207-4*
4601-04- 113-
100657 | 2301586-4*
4601-04- 109-
100704 | 0545675-1*
4601-04- 109-
100705 | 0545674-4*

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One Step Up v. United States, Court No. 04-00397
Protest Entry | Style i HTSUS HTSUS
No. Entry No. Line No. Description Assessed Claimed
4601-04- 109-
100706 | 0545361-8*
4601-04- 109-
100707. | 0545000-2*
LADIES 95% COTTON
1-04- - '
voovo8 satapoL 002 41244 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
4601-04- 113-
100709 | 2302971-7*
4601-04- 109-
100761 | 0545001-0*
4601-04- 109-
100762 | 0545673-6*
4601-04- 113-
100763 | 2314680-0*
LADIES 95% COTTON,
coved. v1aeye.2 001 26823 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
4601-04- 109-
100766 | 0544214-0* -
4601-04- 109-
100767 | 0544213-2* -
4601-04- 109-
100768 | 0546842-6*
4601-04- 113-
100805 | 2316179-1* |
4601-04- 109-
100806 | 0546072-0*
LADIES 96% COTTON,
iad 113- 001 | 45386G | 4% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
100807 2316180-9
BLOUSE
LADIES 95% COTTON,
ae osor o1s0.9 001 | 46018A | 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
oe oeoy 3161809 001 | 46018B | 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
LADIES 95% COTTON,
oosoy - ot80.9 001 | 46018C | 5% SPANDEX KNITTED | 6110.20.20 | 6114.20.00
TANK TOP
4601-04- 109-
100808 | 0547227-9*

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Protest Ent Style eas HTSUS HTSUS
No. Entry No. ine “No. eee aor Assessed Claimed
4601-04- 109-
101206 | 0550511-0*
4601-04- 109- “|
101207 | 0550510-2*
4601-04- 109-
101230 | 0550509-4*
4601-04- 113-
101304 | 2373390-4*
4601-04- 109- |
101306 | 0550508-6*
4601-04- 109-
101307 | 0552818-7*
4601-04- 109-
101308 | 0552821-1*
4601-04- 109-
101320 | 0553747-7*
4601-04- 109-
101321 | 0553749-3*
4601-04- 113-
101322 | 2373942-2*
4601-04- 113-
101323 | 2373938-0*

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SCHEDULE A(3) TO STIPULATED JUDGMENT CIT No. 04-00397

Port: NY/JFK Airport (4701)

Summons Filed CIT NO. 04-00397: 8/06/2004

* Entries and entry lines marked with an asterisk are abandoned and not subject to stipulation of

judgment.
Protest Entry Style ous HTSUS HTSUS
No. Sees Line No. pesca E OD Assessed Claimed
4701-04- 113-
100197 2303710-8*

IT IS HEREBY ORDERED that this Action is decided and the final judgment is to be
entered by the Clerk of this Court, and that the appropriate Customs officials shall
reliquidate the entries and make refund in accordance with the stipulation of the parties
set forth above.

Date:

Thomas J. Aquilino, Jr., Senior Judge

1]
